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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                                   )
Repa, et. al.                                      )
                Plaintiffs,                        )
                                                   )
        vs.                                        )          CASE NO. 1:19-CV-00101-SPB
                                                   )
                                                   )
Napierkowski, et. al                               )
              Defendants.                          )


                                         ORDER

       All counsel of record in this case must read the attached article on mediation prior to the

initial Case Management Conference, and share the same with their client(s). The attached

article is being disseminated with permission of the author and The Pennsylvania Lawyer.




Dated: August 6, 2019                                        s/Susan Paradise Baxter
                                                             Susan Paradise Baxter
                                                             United States District Judge

Attachment

cc (via ECF email notification):

All Counsel of Record
